     Case 4:22-cv-04121 Document 6 Filed on 12/19/22 in TXSD Page 1 of 10




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES FIRE INSURANCE     §
COMPANY,                         §
     Plaintiff,                  §
                                 §
             v.                  §                   CIVIL ACTION NO: 4:22-cv-04121
                                 §
ANTHONY S. MUHARIB, INDIVIDUALLY §
AND DOING BUSINESS AS ONLINE     §
BONDS AND SHARON CHU,            §
     Defendants.                 §


                     PLAINTIFF’S FIRST AMENDED COMPLAINT

TO THE HONORABLE COURT:

      Plaintiff, United States Fire Insurance Company (“Plaintiff” or “US FIRE”), files

this First Amended Complaint against Defendants, Anthony S. Muharib individually and

doing business as Online Bonds (“Muharib”) and Sharon Chu (“Chu”) (collectively,

“Defendants”). In support thereof, Plaintiff would show the Court the following:

                                       PARTIES

      1.     Plaintiff United States Fire Insurance Company is a surety company that is

domiciled and duly organized under the laws of the State of Delaware, and which has a

principal place of business in the State of New Jersey. US FIRE is authorized to conduct

business in Texas.

      2.     Defendant Anthony S. Muharib is a citizen of the State of Texas and an

individual residing in Harris County, Texas. Muharib does business as Online Bonds.

Anthony S. Muharib has agreed to waive service and appear voluntarily in this proceeding

under Fed. R. Civ. P. 4.




FIRST AMENDED COMPLAINT                                                               1
     Case 4:22-cv-04121 Document 6 Filed on 12/19/22 in TXSD Page 2 of 10




       3.     Defendant Sharon Chu is a citizen of the State of Texas, and an individual

residing in Harris County, Texas. Sharon Chu has agreed to waive service and appear

voluntarily in this proceeding under Fed. R. Civ. P. 4.

                              JURISDICTION AND VENUE

       4.     This Court has diversity jurisdiction over the lawsuit under 28 U.S.C.

§1332(a)(1) because there is complete diversity of parties and the amount in controversy

exceeds $75,000, being the minimum jurisdictional limits of this Court.

       5.     Venue is proper because the Producer Underwriting Agreement designates

Houston, Texas as the venue and because a substantial part of the events or omissions

giving rise to the claims occurred in this district under to 28 U.S.C. § 1391(b)(2). Muharib

was a producer in Houston, Texas. Chu was an indemnitor in Houston, Texas. Moreover,

Muharib issued bonds in Houston, Texas.

                                          FACTS

       6.     This lawsuit seeks to enforce US FIRE’s rights under its agreement with

Defendants concerning the bail bond business. On or about April 18, 2019, US FIRE

entered into a Producer Underwriting Agreement (“Agreement”) with Muharib, individually

and doing business as Online Bonds, as Producer and Chu as Indemnitor. US FIRE and

Defendants entered into three subsequent addendums to the Agreement. See Exhibit

“A”. Pursuant to the terms of the Agreement, Muharib operated as a bail bond producer,

both Muharib and Chu were indemnitors, and US FIRE functioned as an authorized surety

for such bonds.

       7.     Unlike traditional insurance company/producer relationships, producers in

the bond business, like Muharib, enjoy the benefit of keeping the majority of the premium




FIRST AMENDED COMPLAINT                                                                   2
     Case 4:22-cv-04121 Document 6 Filed on 12/19/22 in TXSD Page 3 of 10




paid on each bond written. As such, and due to the nature of the bail business, the

insurance company delegates a great deal of authority to and responsibility with the

producer. Because of the significant amount of premium retained, producers and

indemnitors, like Defendants, contractually agree to assume the risk associated with the

bond business, including payment of bond forfeiture judgments.

Relevant Terms of the Agreement.

      8.     Under the Agreement, Muharib and Chu unconditionally guaranteed, and

agreed to be bound to US FIRE for full and complete payment and performance by

Producer of all the provisions, conditions and covenants in the Producer Underwriting

Agreement. As such, Defendants acknowledged and agreed to be solely responsible for

the satisfaction of all bond forfeitures to US FIRE and agreed to timely pay any and all

cost assessments imposed by any court for bond exoneration, and for the payment of any

and all judgments and interest/court costs entered on bonds supplied by US FIRE. See

Exhibit A, §§1 and 9.

      9.     Defendants acknowledged and agreed to indemnify and hold US FIRE

harmless for 100% of liability written by Muharib. Defendants further agreed to indemnify

and hold US FIRE harmless for 100% of all reasonable costs, expenses, and liabilities

that US FIRE may sustain or incur in connection with Muharib’s performance of his bail

bond business and the subject matter of the Agreement. Such liabilities might include, but

were not limited to, bond forfeitures, attorneys’ fees, accountants’ fees, experts’ fees,

collection fees, trial preparation expenses, court costs, penalties, judgments, judgment

execution expenses, and the like. In the event Muharib breached the Agreement,

Defendants were required to indemnify US FIRE for all damages, losses, injuries, costs,




FIRST AMENDED COMPLAINT                                                                 3
      Case 4:22-cv-04121 Document 6 Filed on 12/19/22 in TXSD Page 4 of 10




expenses, and liabilities, including but not limited to attorneys’ fees. See Exhibit A, §§16,

17.

Failure to Return Bond Powers.

       10.    US FIRE terminated its Agreement with Muharib and Chu by letter dated

August 16, 2022. See Exhibit B. Upon termination, Muharib could “no longer solicit,

distribute and/or execute [US FIRE] bail bonds.” Exhibit A, §28. Further, Muharib held

the bond powers in trust for US FIRE after termination. Exhibit A, §4. Upon demand,

Muharib was obligated to “immediately surrender or deliver to [US FIRE] …any and all

unused powers of attorney.” Exhibit A, §28. Muharib was also obligated to make full

premium remittance on the maximum denomination of each bond not accounted for by

him. Id.

       11.    At termination of the Agreement, Muharib held an inventory of 267 bond

powers of various denominations totaling $6,315,000 in maximum denomination. These

bond powers had never been reported to US FIRE by Muharib as used. In its termination

letter, US FIRE demanded that Muharib return the bond powers pursuant to his

contractual obligations under the Agreement. Exhibit B. Despite this and subsequent

demands, Muharib failed and refused to return the bond powers. Muharib was obligated

under his Agreement to remit to US FIRE a total of .7% of the maximum bond amount on

unreported and unreturned bond powers as premium. Exhibit A, §4. Because the

unreturned bond powers represent $6,315,000 of maximum liability, Muharib owes US

FIRE $44,205.00 in bond premium on the unreported and unreturned bond powers.




FIRST AMENDED COMPLAINT                                                                    4
     Case 4:22-cv-04121 Document 6 Filed on 12/19/22 in TXSD Page 5 of 10




Bond Forfeiture Liabilities.

       12.    Defendants assumed full responsibility for bond forfeitures; investigation of

bond principals and prospective bond principals; negotiation, settlement, and/or

satisfaction of claims against Muharib by bond principals, courts, and/or others; and/or

any and all other matters of bond administration. Exhibit A, §9. Muharib issued a number

of bonds which have been, or are currently, in forfeiture judgment status with the potential

for more in the future as there are outstanding bonds executed but not exonerated. US

FIRE has demanded that Muharib satisfy the bond forfeiture judgments but he failed to

do so. As the surety under the bail bonds, US FIRE has liability to Harris County to pay

bond forfeiture judgments under the terms of each bond. Harris County has demanded

that US FIRE pay outstanding bond forfeiture judgments. US FIRE will be unable to post

bail bonds if it fails and refuses to pay the bond forfeiture judgments. Given Muharib’s

failure and refusal to honor his contractual obligations to US FIRE, it had no choice but to

pay the judgments. As of the date of this pleading, US FIRE has paid $511,758.64 to

discharge bond forfeiture judgments arising from bonds written by Muharib.

Attorneys’ Fees and Interest Under the Agreement.

       13.    Additionally, in the event Muharib breached the Agreement, Defendants

were required to indemnify US FIRE for all damages, losses, injuries, costs, expenses,

and liabilities, including but not limited to attorneys’ fees. Moreover, should any litigation

related to the Agreement arise between the parties, the Agreement provides the recovery

of attorneys’ fees to the prevailing party.




FIRST AMENDED COMPLAINT                                                                     5
     Case 4:22-cv-04121 Document 6 Filed on 12/19/22 in TXSD Page 6 of 10




       14.    Defendants’ indebtedness to US FIRE shall bear interest at the maximum

statutory rate allowed by law, calculated as simple interest on a monthly basis, and may

be charged to Defendants directly.

                                 CAUSES OF ACTION

Breach of Contract

       15.    US FIRE incorporates the foregoing paragraphs as if fully stated herein.

       16.    Pursuant to the Agreement, Muharib agreed to be solely responsible for the

satisfaction of all bond forfeitures to US FIRE and agreed to timely pay any and all cost

assessments imposed by any court for bond exoneration, and for the payment of any and

all judgments and interest/court costs entered on bonds supplied by US FIRE. Chu

agreed to be responsible for the same losses as an indemnitor under the Agreement.

Muharib breached the Agreement by failing to timely pay all bond forfeiture judgments on

bonds written by him.

       17.    Defendants also agreed to indemnify US FIRE from any and all liability,

costs or expenses arising from any bail bond powers of attorney supplied to Muharib by

US FIRE. As such, Defendants have breached the Agreement by failing to indemnify US

FIRE for bond forfeiture payments and other losses incurred under the Agreement.

       18.    US FIRE has performed all covenants, conditions, and promises to be

performed on its part under the Agreement, including providing to Muharib bail bond

powers of attorney to use to post bail for criminal defendants in compliance with the terms

of the Agreement.




FIRST AMENDED COMPLAINT                                                                  6
     Case 4:22-cv-04121 Document 6 Filed on 12/19/22 in TXSD Page 7 of 10




       19.    Pursuant to the Agreement, US FIRE is entitled to recover interest on all

amounts paid from the date of payment through the date judgment is entered at the

maximum rate allowed by law.

       20.    The Agreement provides attorneys’ fees to the prevailing party in any

litigation under the Agreement. Therefore, US FIRE seeks recovery of its attorneys’ fees

and costs pursuant to the express provisions of the Agreement under the express award

of attorneys’ fees to the prevailing party, as well as under the indemnification provisions

of the Agreement, and Texas statutory law. All conditions precedent to recovery of

attorneys’ fees have been satisfied or waived.

       21.    As a direct and proximate result of Defendants’ contractual breaches, US

FIRE has suffered actual damages of $511,758.64 for forfeiture judgments that US FIRE

has paid on behalf of Muharib. Additionally, Defendants failed to report used bail bonds

or failed to return unused bond powers which has resulted in damages to US FIRE for a

total loss of premium equaling $44,205.00. Therefore, the total damages owed to US

FIRE by Muharib and Chu equals $555,963.64.

Indemnification

       22.    US FIRE incorporates the foregoing paragraphs 1-14 as if fully stated

herein.

       23.    Under the Agreement, Muharib and Chu agreed to indemnify and hold US

FIRE harmless for all of the liability written by Muharib.

       24.    Additionally, Muharib and Chu agreed to indemnify and hold US FIRE

harmless for all reasonable costs, expenses, and liabilities US FIRE may sustain or incur

in connection with Muharib’s performance of his bail bond business and the subject matter




FIRST AMENDED COMPLAINT                                                                  7
     Case 4:22-cv-04121 Document 6 Filed on 12/19/22 in TXSD Page 8 of 10




of the Agreement, including attorney’s fees.

       25.    US FIRE therefore seeks full and complete indemnity from Muharib and Chu

for bond forfeiture payments and for bond premium on unreported and unreturned bond

powers entrusted to Producer. US FIRE also seeks indemnification for its attorneys’ fees,

accountant fees, expert fees, investigator fees, collection fees, and all expenses and court

costs of any kind incurred in connection with this legal proceeding.

       26.    As a direct and proximate result of the aforesaid breaches of the Agreement

by Defendants, US FIRE has suffered losses of at least $555,963.64, plus attorneys’

fees and costs of this proceeding.

Breach of Fiduciary Duty

       27.    US FIRE incorporates the foregoing paragraphs 1-14 as if fully stated

herein.

       28.    Muharib is an agent to US FIRE, the principal under the Agreement.

Muharib held bond powers and premiums in trust for US FIRE. Muharib owed US FIRE

fiduciary duties in his bail bond business under the express terms of the Agreement as

well as under Texas law arising from the relationship between the parties. Muharib

breached his fiduciary duties to US FIRE in multiple ways. Muharib failed to pay bond

forfeiture judgments on bonds he wrote, subjecting US FIRE to suspension of its right to

conduct business in Harris County, Texas. Muharib failed to report bonds written by him

in a timely manner or at all. Muharib failed to return bond powers he held in trust for US

FIRE upon termination of the Agreement. As a direct result of Muharib’s breaches of his

fiduciary duty to US FIRE, it has been damaged in an amount of $555,963.64. Chu as




FIRST AMENDED COMPLAINT                                                                   8
     Case 4:22-cv-04121 Document 6 Filed on 12/19/22 in TXSD Page 9 of 10




indemnitor is equally obligated to pay US FIRE for its losses from Muharib’s breach of his

fiduciary duty.

                                          PRAYER

       For these reasons, Plaintiff United States Fire Insurance Company prays that

Defendants Anthony S. Muharib and Sharon Chu be cited to appear and answer herein

and that, on final trial, it has judgment against Defendants, jointly and severally, in the

following respects:

       a.     actual damages in the minimum amount of $555,963.64;

       b.     all reasonable and necessary attorneys’ fees;

       c.     pre-judgment interest through the date of judgment at the maximum rate
              allowed by law;

       d      post-judgment interest at the highest legal rate;

       e.     all costs of court; and

       f.     all such other and further relief to which Plaintiff may be justly entitled at law
              or in equity.



                                                   Respectfully submitted,

                                                   IRELAN MCDANIEL, P.L.L.C.

                                                   /s/ Bradford W. Irelan
                                                   Bradford W. Irelan
                                                   State Bar No. 10411550
                                                   Federal Bar No. 13607
                                                   2520 Caroline Street, 2nd Floor
                                                   Houston, Texas 77004
                                                   Phone: (713) 222-7666
                                                   Fax: (713) 222-7669
                                                   birelan@imtexaslaw.com

                                                   ATTORNEYS FOR PLAINTIFFS



FIRST AMENDED COMPLAINT                                                                       9
    Case 4:22-cv-04121 Document 6 Filed on 12/19/22 in TXSD Page 10 of 10




                               CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing was served upon the following
counsel as indicated below on December 19, 2022, in accordance with the Federal Rules
of Civil Procedure.

       Via E-Service
       Mark Font
       MARK A. FONT, P.C.
       16107 Kensington Drive, #265
       Sugar Land, TX 77479
       markfontlaw@gmail.com


                                          /s/ Bradford W. Irelan
                                          Bradford W. Irelan




FIRST AMENDED COMPLAINT                                                                   10
